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  9   SMITH, LLP
 10                  UNITED STATES DISTRICT COURT FOR THE
 11                       CENTRAL DISTRICT OF CALIFORNIA
 12                                WESTERN DIVISION
 13

 14 WESCO INSURANCE COMPANY,                  )    Case No. 2:19-cv-08171 PA (SKx)
                                              )
 15                                           )    Honorable Percy Anderson
                 Plaintiff.                   )    Courtroom No. 9A
 16                                           )
                                              )    DEFENDANT TAULER SMITH’S
 17        v.                                 )    REPLY BRIEF IN SUPPORT OF
                                              )    ITS MOTION TO DISMISS THE
 18                                           )    FIRST COUNT OF PLAINTIFF’S
      TAULER SMITH, LLP, ROMA                 )    COMPLAINT
 19 MIKHA, INC., NMRM, INC., AND              )
      SKYLINE MARKET, INC.,                   )    [F.R.C.P. 12(b)(6)]
 20                                           )
                                              )
 21              Defendants.                  )    Date:      January 6, 2020
                                              )    Time:      1:30 pm
 22                                           )    Courtroom: 9A
                                              )
 23                                           )    Complaint Filed:   September 20, 2019
                                              )    Trial Date:        None Pending
 24                                           )
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  1         Defendant Tauler Smith only has a few short points to make in reply to Wesco’s
  2 Opposition and will dispense with an introduction.

  3         1. Wesco’s Central Argument Is Nothing More Than Bootstrapping
  4         In “The Boy Who Cried Wolf,” the wolf is really there the third time, but the
  5 men of the village do not come. Wesco’s Opposition to Defendant’s Motion to

  6 Dismiss (“Opp.”) essentially argues that because the boy had previously cried wolf, the

  7 men should were aware of facts and circumstances that might “reasonably result” in a

  8 wolf attack, and indeed, the body of the dead boy is evidence they should have known

  9 better. This argument is explicitly made on page ten:

 10         However, the fact that Tauler Smith was named as a counter-defendant in the
 11         Second Amended Counterclaim in the manner explicitly identified in the Initial
 12         Counterclaim – as a member of the RICO enterprise – is dispositive of the
 13         existence of incidents, facts, circumstances, acts, or omissions identified in the
 14         Initial Counterclaim that might result in a professional liability claim.
 15 Opp. at 10:20-25.

 16         This is pure bootstrapping: Wesco argues that because there really was a lawsuit
 17 based on those allegations the third time – after a letter and one set of counterclaims

 18 had been shown to be empty bluster – a reasonable attorney would have known that a

 19 “claim” might “reasonably result.” But as set forth at length in the Motion, the

 20 objective facts 1 at   the time the application were such that the aggressive posturing of
 21 the Poe Letter had been shown to be a paper tiger because, for all of the vivid and

 22 suggestive allegations of the Initial Counterclaims, Tauler Smith was     not named as a
 23 Cross-Defendant. Put simply, events taking place after the representations in the

 24 insurance application cannot in any way determine or affect what was reasonable to

 25 expect at the time the representations were made.

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 27        Wesco accuses Defendant – without citation– of arguing for a “subjective
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    standard”. Opp. at p.8, n.6. Defendant respectfully suggests Wesco misreads the
 28 Motion.


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  1         2. Wesco Never Alleged the Poe Letter’s Being A “Claim” as a Ground
  2            For Rescission.
  3         One of Wesco’s primary arguments is that Tauler Smith “fails to address
  4 altogether that the Poe Letter is alleged to be a claim that Tauler Smith failed to

  5 disclose.” Opp. at 7:1-5. Wesco does not offer any citation to this supposed allegation,

  6 only the bare allegation in the Opposition that “The Poe Letter was a claim.” See, e.g.,

  7 Opp. at 7:20. The reason for this reticence is that the allegation only appears in

  8 Wesco’s alternative Count II. See Complaint (Dkt. 1) at ¶ 86(d), at 16:9-13. It is simply

  9 not an allegation that is part of Count I.. In any event, Wesco’s argument that the Poe

 10 Letter was a “claim” both relies on the wrong legal standard and is simply wrong.

 11         Wesco cites to case law stating that a formal lawsuit is not strictly necessary for
 12 there to be a “claim” under various types of liability policies. See Opp. at p.7, n.5. But

 13 none of that authority is relevant here: the question is whether the Poe Letter meets the

 14 definition of “claim” in Wesco’s insurance policy. That Policy – which Wesco does not

 15 bother to cite – defines a claim as “a written or verbal demand received by the Insured

 16 for money or services arising out of an act or omission… in rendering or failing to

 17 render legal services.” See Exh. H to Complaint (Dkt. 1-8) at p. 9 of 29, Section II.B.

 18         Simply put, a demand to withdraw a lawsuit or face a possible suit in return is
 19   not a demand for money or services. The Poe Letter did not demand money, and it
 20 did not demand Tauler Smith represent Poe’s clients. It was a contingent threat: “do

 21 this or else.” That is facially and clearly not a “claim” under the Policy, and Wesco

 22 cannot revive its first Count by amending its Complaint to include this allegation. See,

 23 e.g., Abifadel v. Cigna Ins. Co. 8 Cal.App.4th 145, 160 (1992) (“a claim is not threatened

 24 action, accusation of misconduct, or mere notice of an intention to hold an insured

 25 responsible for a wrongful act”); Winkler v. Nat. Union Fire Ins. Co., 930 F.2d 1364,

 26 1366-67 (threat to take legal action to recoup losses might be notice of “intention” to

 27 hold insureds liable, but was not a claim; insured only entitled to coverage if it gave

 28 notice of facts and circumstances during the policy period).


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  1         3. Wesco Misrepresents Defendant’s Argument: the Actual Beliefs of the
  2             Underlying Counterclaimants are Irrelevant to this Analysis.
  3         In addition to a number of other mild mischaracterizations of Defendant’s
  4 Motion, Wesco argues that Tauler smith is impermissibly “relying upon speculation” as

  5 to the Counterclaimant’s subjective beliefs. This is a fairly egregious misreading of the

  6 Motion. Tauler Smith’s argument is that Counterclaimants demonstrably did not

  7 believe Tauler Smith should have been named as a party because they drafted the

  8 Counterclaims and chose not to name Tauler Smith. The argument is from evidence;

  9 there is no “speculation” involved. And in any case, the underlying Counterclaimant’s

 10 actual subjective beliefs are irrelevant to this analysis. 2 What matters is whether the

 11 evidence of those beliefs available to Tauler Smith would have led it to think that a

 12 claim “reasonably might” result.

 13         4. Wesco Doesn’t Understand That the Detailed Allegations of the Initial
 14             Counterclaim Make Its Position Worse .
 15         Wesco’s Opposition is filled with reference after reference after reference to the
 16 detailed, specific, and (let us be frank) damningly accusatory allegations of the Initial

 17 Counterclaim: “Tauler Smith did this,” and “Tauler Smith did that,” and “Tauler Smith

 18 perpetrated a scheme and a racket,” and “Tauler Smith was a member of a RICO

 19 enterprise,” etc. etc. etc. See, e.g., Opp. at 3:15-26, 9:27-10:14 [describing a “panoply of

 20 allegations”], 12:6-12. Yet Wesco seems blithely unaware of the fact that the more

 21 detailed and the more extensive the allegations of the Initial Counterclaim were, the

 22 more the underlying Counterclaimant’s failure to name Tauler Smith as an actual

 23 defendant makes the entire course of interaction with the Counterclaimants leading up

 24 to the insurance application – including the Poe Letter itself – seem like a blustery

 25 charade. The Poe Letter said “drop your case or else.” Tauler Smith did not drop its

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             This needs to be contrasted, however, with the objective evidence of those
    beliefs that was available to Tauler Smith at the time it made the representations in its
 28 insurance application.


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  1 case. Where was the “or else”? Wesco cannot escape a singular truth: the very person

  2 who Wesco argues “reasonably might” have brought a liability claim based on the

  3 allegations of the Initial Counterclaim did     not bring that claim when they actually
  4 made those allegations in Court, despite an explicit promise to do so made in the Poe

  5 Letter. Any reasonable person would think that Poe was “crying wolf”.

  6         5. Wesco is Entitled to All Reasonable Inference of Fact, not to Having
  7             Conclusions of Law Decided in Its Favor.
  8         Wesco argues that it is entitled to “all reasonable inferences” from the facts it
  9 has alleged. See, e.g., Opp. at 5:11-14. But that bias does not extend to “conclusions of

 10 law, conclusory allegations, unreasonable inferences, or unwarranted deductions of

 11 fact[.]” Barapind v. Reno, 72 F.Supp.2d 1132, 1141 (E.D.Cal. 1999). Defendant does not

 12 dispute that the Poe Letter says what it says, nor that the Initial Counterclaim says what

 13 it says. For purposes of this motion, the alleged facts are not in dispute.

 14         But Wesco is not entitled to have either conclusory assertions or conclusions of
 15 law drawn in its favor. It is not, for example, entitled to have this Court simply accept

 16 as true that Tauler Smith’s answers on its insurance application were false – not when

 17 the very facts alleged in the Complaint itself show those answers to have been true. It

 18 is not entitled to have this Court simply accept the conclusory statement that “the

 19 contents of the Poe Letter and Initial Counterclaim clearly provide[ ] a [reasonable] 3

 20 basis to conclude that facts, circumstances, acts, or omissions which might result in a

 21 professional liability claim are identified.” See Opp. at 8:6-11.

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              In its arguments to the Court, Wesco repeatedly omits the explicit standard of
      “reasonableness” that applies. See Opp. at 1:21-22 (“facts, circumstances, acts or
 24   omissions that might result in a professional liability claim”); id. at 2:2-3
 25   (“circumstances which might result in a claim”); id. at 4:9-13 (misrepresenting
      application as asking whether Tauler Smith was “aware of any incident, facts,
 26   circumstances, acts or omissions that might result in a professional liability claim”); id.
 27   at 6:18-21 (claiming that Defendants motion “fails to apply the proper standard to…
      determining whether known facts or circumstances might result in a claim”] [all
 28   emphases added). The irony of the last example is particularly poignant.

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  1         Tauler Smith asks this Court to make a ruling as a matter of law that any
  2 reasonable attorney in Tauler Smith’s position would be unconcerned about being

  3 named in the very Counterclaims which had already been brought without naming the firm.

  4 This does not seem like a particularly difficult call: one would in fact have to be an

  5   unreasonably anxious and apprehensive attorney to think that there were any teeth to
  6 the Poe Letter’s threats to sue Tauler Smith at that point in time.

  7         Tauler Smith asks this Court to bear in mind that the insurance application did
  8 not ask whether anyone had ever threatened to sue the firm; it did not ask whether

  9 anyone had made allegations that, if true, would provide the basis for relief. What the

 10 insurance company asked was whether Tauler Smith was aware of circumstances that

 11 might “reasonably result” in a claim. See Opp. at 7:7-11.

 12         Tauler Smith was certainly aware of facts and circumstances, but they were not
 13 such as might “reasonably result” in a claim. As a matter of law, on the facts alleged in

 14 the Complaint, there are no grounds for rescission.

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 16
      Dated: December 23, 2019                   LOPEZ, BARK & SCHULZ LLP
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 19                                              By:
 20                                                    Michael E. Lopez
                                                       Attorneys for Defendant
 21                                                    Tauler Smith, LLP

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